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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


DELROY A. CHAMBERS, JR.,

                     Plaintiff,

v.                                                     Case No: 6:20-cv-1262-Orl-37LRH

SPECTRUM, INC.,

                     Defendant.


                                  ORDER OF DISMISSAL

        Before the Court is Plaintiff’s Notice of Voluntary Dismissal with Prejudice (Doc.

15) filed September 9, 2020. No answer has been filed. Accordingly, it is

        ORDERED that this case is hereby DISMISSED with prejudice. The Clerk is

directed to terminate all pending motions and close the file.

        DONE AND ORDERED in Chambers in Orlando, Florida, on September 15,
2020.




Copies:       Counsel of Record
